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                                  3                                      UNITED STATES DISTRICT COURT
                                  4                                    NORTHERN DISTRICT OF CALIFORNIA
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                                  8    CALIFORNIA COALITION FOR WOMEN                       Case No.: 4:23-cv-4155-YGR
                                       PRISONERS, ET AL.,
                                  9                                                         ORDER TO SHOW CAUSE WHY THE UNITED
                                                   Plaintiffs,                              STATES SHOULD NOT BE HELD IN CONTEMPT
                                  10                                                        OR SANCTIONED FOR FAILURE TO ABIDE BY
                                              v.                                            COURT’S ORDER
                                  11
                                       UNITED STATES, ET AL.
Northern District of California




                                  12
 United States District Court




                                                    Defendants.
                                  13
                                              TO ALL PARTIES AND THEIR COUNSEL:
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                                              The Court received news shortly before its visit to FCI Dublin that an inmate who testified
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                                       during the evidentiary hearing held on January 3–9, 2024, Rhonda Flemming, was placed in the
                                  16
                                       Secure Housing Unit at FCI Dublin and eventually transferred to a separate prison in Los Angeles.
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                                       On December 30, 2023, the Court Ordered defendants, among other things, “Not to Transfer any
                                  18
                                       person on the witness lists filed in this action until further order of this Court.” (Dkt. No. 88 at 2
                                  19
                                       ¶ 4, emphasis supplied.)
                                  20
                                              The Court issues this order for the government to show cause why it should not be held in
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                                       contempt or sanctioned for failure to abide by the Court’s order. A response shall be filed within
                                  22
                                       48 hours of this Order. If plaintiffs wish to respond, they may do so by no later than 9:00 a.m. on
                                  23
                                       Monday, February 19, 2024.
                                  24
                                              IT IS SO ORDERED.
                                  25
                                       Date: February 15, 2024                           _______________________________________
                                  26                                                             YVONNE GONZALEZ ROGERS
                                                                                            UNITED STATES DISTRICT COURT JUDGE
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